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                      IN THE UNITED STATED DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §                Case No: 2:16-cv-00450-JRG
                                    §
      vs.                           §                LEAD CASE
                                    §
CITIBANK NA                         §
                                    §
      Defendant.                    §
___________________________________ §
SYMBOLOGY INNOVATIONS, LLC          §
                                    §
      Plaintiff,                    §                Case No: 2:16-cv-00600-JRG
                                    §
      vs.                           §                CONSOLIDATED CASE
                                    §
NETGEAR, INC.                       §
                                    §
      Defendant.                    §
___________________________________ §

                       ORDER OF DISMISSAL WITH PREJUDICE

       On this date, the Court considered Plaintiff Symbology Innovations, LLC’s

Unopposed Motion to Amend Order Dismissing Case to a Dismissal with Prejudice (Dkt. No.

141). Having considered the circumstances surrounding this matter, the Court finds that the

motion should be granted.
       Therefore, IT IS ORDERED that all claims between Symbology Innovations, LLC and

Netgear are dismissed with prejudice, each party to bear its own fees and costs.


       So Ordered this
       Jan 23, 2017
